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September 6, 2019
VIA ECF

Honorable Michael A. Hammer

United States Magistrate Judge

Martin Luther King, Jr. Federal Building
and United States Courthouse

50 Walnut Street, P.O. Box 999
Newark, New Jersey 07101-0999

Re: Gozdenovich v. AARP, Inc., No. 18-2788 (MCA) (MAH)
Dear Judge Hammer:

I write on behalf of Plaintiff in the above-captioned matter. Currently, Plaintiff's motion
for class certification is due on September 30, 2019. Plaintiff now respectfully requests that the

Court enter the following extension and briefing schedule negotiated and agreed to between the
parties:

 

November 15, 2019 Plaintiff's motion for class certification
December 20, 2019 Defendants’ oppositions to Plaintiff's
motion for class certification

 

 

January 21, 2020 Plaintiff's reply in support of motion for
class certification

 

 

 

 

This is the parties’ first request for an extension of the class certification deadline. Ail other
dates can remain in effect.

Very truly yours,
£3 ORDERED
«/Michael A. Hammer Andrew J. Obergfell
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ic ezest A, U.S.M.J.

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